Case 9:24-cr-80116-AMC Document 30 Entered on FLSD Docket 10/02/2024 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 24-80116-cr-AMC

  UNITED STATES OF AMERICA

  vs.

  RYAN WESLEY ROUTH,

        Defendant.
  ______________________________/

         GOVERNMENT’S UNOPPOSED MOTION TO DESIGNATE CASE
    AS COMPLEX UNDER SPEEDY TRIAL ACT AND REQUEST TO HAVE MOTION
   DEADLINES CANCELLED AND CASE REMOVED FROM THE TRIAL CALENDAR

          The United States of America hereby moves the Court for an order designating the above-

  captioned matter as a complex case pursuant to 18 U.S.C. § 3161(h)(7)(A) and B(ii), and to have

  the motion deadlines cancelled and case removed from the trial calendar. Undersigned counsel for

  the United States has consulted with defense counsel of record who indicates that the defense does

  not object to the instant motion.

                                            BACKGROUND

          On September 24, 2024, an Indictment was returned in the above-captioned matter

  charging the defendant with attempting to assassinate a major Presidential candidate, in violation

  of Title 18, U.S.C. § 351 (Count 1); possession of a firearm in furtherance of a crime of violence,

  in violation of Title 18, U.S.C. § 924(c) (Count 2); assaulting a federal officer, in violation of Title

  18, U.S.C. § 111 (Count 3); being a felon in possession of a firearm and ammunition, in violation

  of Title 18, U.S.C. § 922(g)(1) (Count 4); and possessing a firearm with an obliterated serial

  number, in violation of Title 18, U.S.C. § 922(k) (Count 5). The Defendant was arraigned on the

  Indictment on September 30, 2024.



                                                     1
Case 9:24-cr-80116-AMC Document 30 Entered on FLSD Docket 10/02/2024 Page 2 of 4




         Under the Speedy Trial Act, the Court may properly exclude certain periods of delay in

  computing the time within which trial must commence. Specifically, under 18 U.S.C. §

  3161(h)(7)(A), the Court may exclude a period of time from the speedy trial period where it finds

  that “the ends of justice served by taking such action outweigh the best interest of the public and

  the defendant in a speedy trial.” Id. A continuance may be granted by any judge upon the court’s

  own motion, or at the request of the defendant or at the request of the attorney for the Government.

  Id. In considering whether to grant a continuance requested under that provision, one of the factors

  the Court is to consider is:

         Whether the case is so unusual or complex, due to the number of defendants, the nature of
         the prosecution, or the existence of novel questions of fact or law, that it is unreasonable to
         expect adequate preparation for pretrial proceedings or for he trial itself within the time
         limits established by this section.

  18 U.S.C. §3161(h)(7)(B)(ii).

         Here the Government submits that the case is “unusual and complex” within the meaning

  of the above statute. The charges in this Indictment stem from the attempted assassination of

  former President Donald J. Trump on September 15, 2024, when the former President was golfing

  at Trump International Golf Club in West Palm Beach. The defendant was taken into custody that

  day, shortly after fleeing from the scene of the crime. The government has worked diligently since

  September 15 to investigate the incident. Over the past two weeks, the United States has

  interviewed hundreds of witnesses. It has also executed 13 search warrants in Florida, Hawaii,

  and North Carolina, and seized hundreds of items of evidence, including multiple electronic

  devices. Over one hundred subpoena returns are also still pending. From the large volume of

  electronic devices and other storage media in this case, the United States currently has thousands

  of videos to review. All videos, still images, text files, and audio files constitute approximately

  4,000 terabytes (4 million gigabytes) of digital review to complete.

                                                   2
Case 9:24-cr-80116-AMC Document 30 Entered on FLSD Docket 10/02/2024 Page 3 of 4




         The FBI is also conducting forensic testing on multiple pieces of evidence, including

  ballistics testing, and fingerprint and DNA comparisons. Based on preliminary results from some

  of the testing, the government anticipates calling several expert witnesses to testify at trial.

  Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, the government must provide

  expert witness disclosures sufficiently in advance of trial to provide the defendant a fair

  opportunity to meet the government’s evidence.

         Finally, due to the reactive nature of this prosecution, the investigation of this case is still

  ongoing. As such, the United States anticipates that it will continue to interview additional

  witnesses, collect evidence, and obtain additional records pursuant to subpoenas, 2703(d) orders,

  and search warrants.

                                           CONCLUSION

         As discussed above, the volume of evidence collected in this case is substantial and the

  investigation is ongoing. The Government accordingly requests the Court designate this case as

  complex under 18 U.S.C. § 3161(h)(7)(A) and (B)(ii). To allow the parties the time needed to

  adequately review the voluminous discovery and determine which motions need to be filed, the

  government also requests that the motion deadlines, calendar call, and trial date set forth in the




                                                    3
Case 9:24-cr-80116-AMC Document 30 Entered on FLSD Docket 10/02/2024 Page 4 of 4




  Court’s Omnibus Trail Order (DE 29) be cancelled, and a status conference be set for 60 days from

  the date of this motion.



                                               Respectfully submitted,

                                               MARKENZY LAPOINTE
                                               UNITED STATES ATTORNEY

                                        By:    s/Mark Dispoto
                                               Mark Dispoto
                                               Assistant United States Attorney
                                               Court ID No. A5501143
                                               500 S. Australian Avenue,
                                               West Palm Beach, FL 33401
                                               (561) 209-1032 Office
                                               Mark.Dispoto@usdoj.gov




                        CERTIFICATE OF SERVICE AND CONFERRAL

         I HEREBY CERTIFY that on October 2, 2024, a true and correct copy of the foregoing

  was filed electronically with the Clerk of Court via CM/ECF. On the same day, the Government

  conferred with defense counsel of record, who indicated that the defendant does not object to this

  motion.


                                                       /s/Mark Dispoto
                                                       Assistant United States Attorney
                                                       Mark Dispoto




                                                  4
